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UNITED sTATEs DISTRICT COURT F I L E D
FoR THE DIsTRICT oF CoLUMBIA DEC 0 4 2018
Clel'k, U.S. D' i'
UNITED sTATEs oF AMERICA er al., § comm forme'i){§i§c&t§§"é'§,r,‘§f’,,‘§¥a
Plaintiffs, )
)
v. ) Civil Case No. 18-2340 (RJL)
)
Cvs HEALTH CoRPoRATIoN er al., )
)

Defendants.

) 4
ORDER TO SHO CAUSE
December z, 2018

On October lO, 2018, the United States of America (“the Government”)
and the States of California, Florida, Hawaii, Mississippi, and Washington
(collectively, “plaintiffs”) liled a civil antitrust action seeking to enjoin CVS
Health Corporation’s (“CVS”) proposed acquisition of Aetna Inc. (“Aetna”)
pursuant to Section 7 of the Clayton Act, 15 U.S.C. § 18. On the same day, the
Government filed a notice stating its intention to settle this suit pursuant to the
Antitrust Procedures and Penalties Act, also known as the Tunney Act, 15 U.S.C.
§ l6(b)~(h). The Government attached to its notice a proposed final judgment

The Tunney Act imposes both procedural requirements and a substantive
requirement on the Government’s proposed settlement. See 15 U.S.C. § l6(b)-(h).
“[T]hrough its procedural requirements, [the Act] grants the public the opportunity
to scrutinize and comment upon proposed [consent judgments] and thereby

eliminates excessive secrecy from the process” of settling civil antitrust suits

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brought by the United States. United States v. Az`rline Tarijjf Pub. Co., 836 F.
Supp. 9, ll (D.D.C. 1993). Af`ter the public has commented on a proposed
judgment, a court must “determine whether entry of the proposed Final Judgment
‘is in the public interest.”’ United States v. US Airways Grp., Inc., 38 F. Supp. 3d
69, 74 (D.D.C. 2014) (quoting 15 U.S.C. § 16(e)(1)). In this case, the public’s
time to comment on the Government’s proposed final judgment will not lapse until
on or about December 17, 2018.

Nevertheless, on November 29, the Government informed me that CVS not
only had completed its acquisition of Aetna but also that CVS and Aetna intend to
“begin to integrate their operations.” Nov. 29, 2018 Hr’g Tr. 5:17-19. While l
entered an Asset Preservation Stipulation and Order in this case that required CVS
and Aetna to hold separate or divest certain assets that are subject to the
Government’s proposed final judgment, those assets have now been divested, and
the Government has represented that it does not seek to slow or stop any other
aspect of the private parties’ integration. According to the Government, “[s]ince
Plaintiffs did not allege that combining any other parts of Aetna’s business with
CVS would raise competitive concerns, allowing the integration of those parts of
Aetna’s business with CVS does not compromise the outcome of the Tunney Act
proceeding.” [Dkt. # 25 at 6.]

At this stage, l am less convinced of the sufficiency of the Government’s
negotiated remedy than the Government is. Because the Tunney Act procedures

have not yet been completed, neither I, nor the public, has had a chance to evaluate

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whether the proposed final judgment adequately remedies the harm alleged in the
complaint and, more importantly perhaps, whether the complaint as drafted is
actually in the public interest or is drafted so narrowly as to “make a mockery of
judicial power” as prohibited by our Court of Appeals. United States v. Mz'crosoft
Corp., 56 F.3d 1448, 1462 (D.C. Cir. 1995).

For the foregoing reasons, it is hereby

ORDERED that the parties to this case shall, on or before December 14,
2018, show cause why I should not order CVS to hold its acquired Aetna business
as a separate entity and to insulate the management of the CVS business from the
management of the Aetna business, and vice versa, until I have made my
determination as to whether to enter final judgment in this case. Written
submissions in response to this Show Cause Order are due by December 14, 2018.
In their responses, the parties should address any steps taken between now and
December 14 to ensure that assets beyond those already divested will be held
separate or to otherwise preserve the ability to unwind CVS’ acquisition of Aetna
in the event an unwinding is necessary. The parties should also address the

appropriate scope of any hold separate order that might issue in this case.

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lt is further

ORDERED that the Court will hold a hearing on this matter on December

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RiCHARD LLjoN
United States District Judge

18, 2018 at 3:00 pm.

SO ORDERED.

